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Attorneys for Defendant Google LLC



                                  UNITED STATES DISTRICT COURT

                                NORTHERN DISTRICT OF CALIFORNIA

                                           OAKLAND DIVISION



LARRY GOLDEN,                             )                   Case No. 4:22-cv-05246-HSG
                                          )
   Plaintiff,                             )                   CERTIFICATE OF SERVICE
                                          )
v.                                        )
                                          )
GOOGLE LLC,                               )
                                          )
   Defendant.                             )
                                          )
_________________________________________ )

I, Virginia G. Kain, certify as follows under 28 U.S.C. § 1746:

       I am an attorney at Warren Lex LLP and admitted to practice before this Court. My business

address is 2261 Market Street, No. 606, San Francisco, California, 94114. On December 6, 2022, I

served the following documents:

       1.       Notice of Pendency of Other Actions Under Patent Local Rule 2-1(a);

       2.       Case Management Statement of Defendant Google LLC; and

       3.       Notice of Attorney Appearance of Virginia G. Kain.

by First Class mail on the plaintiff at this address:

                Larry Golden
                740 Woodruff Road, No. 1102
                Greenville, South Carolina, 29607

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                                                                                 CERTIFICATE OF SERVICE
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by placing them in a sealed envelope with postage paid and placing the envelope in the exclusive

custody and control of the United States Postal Service.

       On the same day, I also sent a courtesy copy of these documents by electronic mail to Mr.

Golden at atpg-tech@charter.net.

       I certify under penalty of perjury that the foregoing is true and correct. Executed on December 6,

2022, at San Francisco, California.

                                             ________________________________
                                             Virginia G. Kain




                                                  –2–                     Case No. 4:22-cv-05246-HSG
                                                                              CERTIFICATE OF SERVICE
